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Customer INV# Date Due Date Total Balance

1}Michael Centeno INV-4293 1/25/2018 2/4/2018 6,363.00 0

2}Guenter Schumacher INV-4287 1/25/2018 2/4/2018 750.00 0

3}Dennis Lewis INV-4286 1/25/2018 2/4/2018 500.00 0

4|1THIEU HUY HOANG  _JINV-4284 1/25/2018 2/4/2018 1,300.00 0

5}]RYAN WHITE INV-4279 1/25/2018 2/4/2018 1,500.00 0

6}Romeo Vinas INV-4278 1/25/2018 2/4/2018 375.00 0

7}Andrew Valjack INV-4274 1/25/2018 2/4/2018 350.00 0

8}Duey F. INV-4273 1/25/2018 2/4/2018 500.00 0

9}COLLEEN EOANNOU JINV-4272 1/25/2018 2/4/2018 2,000.00 0
10]Maurice James Toal INV-4270 1/25/2018 2/4/2018 1,500.00 0
11]/VUI HOW LEE INV-4265 1/25/2018 2/4/2018 350.00 0
12}Milagros A. Dysico INV-4264 1/25/2018 2/4/2018 297.00 0
13)Jeffrey Holley INV-4263 1/25/2018 2/4/2018 470.00 0
14}Russ Lujan INV-4262 1/25/2018 2/4/2018 750.00 0
15]Sai Pasham INV-4335 1/26/2018 2/5/2018 300.00 0
16}Suresh Vobbilisetty INV-4332 1/26/2018 2/5/2018 1,000.00 0
17|Noor Gill INV-4318 1/26/2018 2/5/2018 500.00 0
18}Sayeed Hassan INV-4317 1/26/2018 2/5/2018 1,017.00 0
19}Richard Jones INV-4311 1/26/2018 2/5/2018 1,000.00 0
20|Douglas Cornish INV-4308 1/26/2018 2/5/2018 300.00 0
21}Aran J Persaud INV-4307 1/26/2018 2/5/2018 1,500.00 0
22|Lizzie Attwood INV-4306 1/26/2018 2/5/2018 300.00 0
23} ANTONINO dONNABHINV-4364 1/27/2018 2/6/2018 990.00 0
24} Jamileth P Roberts INV-4362 1/27/2018 2/6/2018 300.00 0
25}Allen E Roberts INV-4361 1/27/2018 2/6/2018 300.00 0
26}Maria Merino INV-4360 1/27/2018 2/6/2018 750.00 0
27}kym revill INV-4349 1/27/2018 2/6/2018 300.00 0
28]Tim Bakhishev INV-4348 1/27/2018 2/6/2018 5,000.00 0
29]Md Rashidul Hasan INV-4405 1/28/2018 2/7/2018 3,100.00 0
30}desmond INV-4404 1/28/2018 2/7/2018 750.00 0
31]Saiyad INV-4401 1/28/2018 2/7/2018 525.00 0
32]Cynthia Michele Lara [INV-4400 1/28/2018 2/7/2018 300.00 0
33]Tibor Okros INV-4399 1/28/2018 2/7/2018 500.00 0
34]Kelly Clark INV-4393 1/28/2018 2/7/2018 8,512.50 0
35]Gevork INV-4392 1/28/2018 2/7/2018 350.00 0
36}futsum G woldemariam JINV-4390 1/28/2018 2/7/2018 10,400.00 0
37}Elizabeth Bonet INV-4389 1/28/2018 2/7/2018 500.00 0
38]Emma Mae INV-4383 1/28/2018 2/7/2018 750.00 0
39}]Omar Y K Alshaikhali JINV-4382 1/28/2018 2/7/2018 350.00 0
40}mohamed abdulgany INV-4380 1/28/2018 2/7/2018 840.00 0
41|Douglas Cornish INV-4379 1/28/2018 2/7/2018 420.00 0
42|Brenda SK Li INV-4435 1/29/2018 2/8/2018 500.00 0
43|Dennis Worthingto INV-4433 1/29/2018 2/8/2018 300.00 0

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44} Allyson Bell INV-4431 1/29/2018 2/8/2018 1,050.00 0
45} Tibor Okros INV-4427 1/29/2018 2/8/2018 9,150.50 0
46}Duane L Escalante INV-4425 1/29/2018 2/8/2018 345.00 0
471Valerie Ploumpis INV-4423 1/29/2018 2/8/2018 15,000.00 0
48}|Daryk Chang INV-4422 1/29/2018 2/8/2018 1,200.00 0
49}Candido Barroso INV-4421 1/29/2018 2/8/2018 1,000.00 0
50]Baron August INV-4420 1/29/2018 2/8/2018 9,000.00 0
51}Ruby Pacheco INV-4415 1/29/2018 2/8/2018 1,500.00 0
52]Leonard Bloch INV-4414 1/29/2018 2/8/2018 600.00 0
53}|David Grey INV-4412 1/29/2018 2/8/2018 3,000.00 0
54}Sugunan Subramaniyan [INV-4407 1/29/2018 2/8/2018 1,500.00 0
55)WESTRAY BATTLE  JINV-4483 1/30/2018 2/9/2018 1,500.00 0
56|Marc B Oben INV-4478 1/30/2018 2/9/2018 1,000.00 0
57|Elizabeth Benie Eko INV-4474 1/30/2018 2/9/2018 1,500.00 0
58} WILSON EKO NDIVE JINV-4473 1/30/2018 2/9/2018 1,500.00 0
59}mike bioumla INV-4472 1/30/2018 2/9/2018 1,500.00 0
60]Blanchard Rob INV-4470 1/30/2018 2/9/2018 525.00 0
61}Pushkar R. Pandey INV-4458 1/30/2018 2/9/2018 3,000.00 0
62]Albert L. Pacheco INV-4457 1/30/2018 2/9/2018 1,500.00 0
63}Lawrence K Goodman |JINV-4452 1/30/2018 2/9/2018 275.00 0
64] Andrew Peterson INV-4444 1/30/2018 2/9/2018 784.00 0
65]Sivab Prolu INV-4501 1/31/2018 2/10/2018 750.00 0
66] Victor R Rosario INV-4497 1/31/2018 2/10/2018 2,000.00 0

EX3133-002

